     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 99-1410

                   MARCOS A. LEBRON-GUZMAN,

                    Plaintiff, Appellant,

                              v.

                             HHS,

                     Defendant, Appellee.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF PUERTO RICO

        [Hon. Jaime Pieras, Jr., U.S. District Judge]

                            Before

                   Torruella, Chief Judge,
              Stahl and Lipez, Circuit Judges.

   Salvador Medina De La Cruz on brief for appellant.
   Guillermo Gil, United States Attorney, Lilliam Mendoza Toro,
Assistant U.S. Attorney, and Robert J. Triba, Chief Counsel, Social
Security Administration, on brief for appellee.

December 3, 1999

          Per Curiam.    Having reviewed the record with care,
we find that substantial evidence supports the ALJ's decision
that claimant did not show that prior to the expiration of his
insured status he had a medically determinable impairment or
combination of impairments which precluded the performance of
his past relevant work.  We apprehend no error in the ALJ's 
evaluation of conflicting medical opinions about the claimant's
residual functional capacity, see 20 C.F.R.  404.1527(e)(2),
(f), nor in the determination that claimant had not produced
credible proof of the onset of a severe mental impairment prior
to the expiration of his insured status.  See 20 C.F.R.  
404.131(b).     
          Affirmed.  See Loc. R. 27(c).  
